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_________________________________________________________________________________

                                                    SO ORDERED,



                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

IN RE: DARRELL L. BRADLEY                                             CHAPTER 13
       LATONYA PEGUES

DEBTORS                                                               CASE NO. 18-13868 JDW


         AGREED ORDER GRANTING MOTION TO MODIFY PLAN [Dkt. #69]
             AND AMENDED MOTION TO MODIFY PLAN [Dkt. #74]

       THIS CAUSE came before the Court on the Motion and Notice to Modify the Confirmed

Plan (Dkt. #69) and the Amended Motion to Modify the Confirmed Plan [Dkt. #74] filed by

Darrell L. Bradley and Latonya Pegues, Debtors, and the Response (Dkt.#78) filed by Locke D.

Barkley, Chapter 13 Trustee (the “Trustee”) and the Court having been advised that the parties

have reached an agreement and that they desire to memorialize their agreement in this Agreed

Order, the Court finds that the agreement of the parties is appropriate and should be set forth

herein. The Court does hereby order and adjudicate as follows:

       Plan payments to AmeriCredit Financial Services as to the 2016 Hyundai Accent and all

unsecured creditors shall be reduced to the amount already paid. Debtors’ Plan payments will be

reduced accordingly.

       On or before December 31, 2020, Joint Debtor shall provide the Trustee with an update
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on her employment and, if employed, file an amended Schedule I and, if appropriate, an amended

Schedule J. Contemporaneous with the filing, the Joint Debtor shall provide to the Trustee one

month of pay advices, to the extent possible. Failure to comply may result in this dismissal of

this case.

                                     ##END OF ORDER##


AGREED TO:


 /s/ W. Jeffrey Collier
W. Jeffrey Collier, MSB 10645
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Jackson, MS 39211
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/s/ Karen B. Schneller
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Prepared By:

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